EXHIBIT 6
                                                                         - 1 of 1 -
FD-302 (Rev. 5-8-10)

                                                  FEDERAL BUREAU OF INVESTIGATION




                                                                                                                          Date of entry       10/18/2019



                               date of birth             , Social Security Number
                   , phone number              was interviewed ather address of
                      Hampton, Virginia          After being advised of the identity
        of the interviewing Agents and the nature of the interview,
        provided the following information:

                    knew that                    and Chris HASSON were running with
        a few different guys who were skinheads on the night that her father was
        assaulted.          was surprised that the Coast Guard accepted HASSON when
        he applied to work with them.

                    believed that      , HASSON, and             who was her
        boyfriend at the time, were skinheads because they would get jumped by and
        fight with blacks a lot. After this, the three shaved their heads and became
        skinheads.

                    believed that      lived in                                                                                                           had
        not spoken to      in a very long time.

                    did not recall much of what happened on the night that
        assaulted her father.          stated that       and HASSON were looking for
             because they wanted to cause trouble. The first time          saw
        HASSON was on the night that       assaulted her father.




   Investigation on    10/10/2019           at   Hampton, Virginia, United States (In Person)

   File #                                                                                                                    Date drafted    10/15/2019

   by

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